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6

7                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
8

9     UNITED AFRICAN-ASIAN                       Case #: 2:23-cv-02354 JFW (AFMx)
      ABILITIES CLUB, ON BEHALF OF
10
      ITSELF AND ITS MEMBERS;                    NOTICE OF VOLUNTARY
11    JAMES LEE, An Individual                   DISMISSAL WITH PREJUDICE OF
12
                                                 ENTIRE ACTION AFTER
                          Plaintiffs,            SETTLEMENT
13

14          v.                                   [Fed. R. Civ. P. Rule 41(a)(1)]
15
      SUBHAN PROPERTIES, INC.; and
16    DOES 1 THROUGH 10, Inclusive
17
                                 Defendants
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28                                            Dismissal With Prejudice Of Entire Action
                                                        Case# 2:23−cv−02354 JFW (AFMx)
     Case 2:23-cv-02354-JFW-AFM Document 11 Filed 07/01/23 Page 2 of 4 Page ID #:95


1           IT IS HEREBY NOTICED by all the Plaintiffs, pursuant to Federal Rules of
2     Civil Procedure Rule 41 (a)(1), that all the Plaintiffs hereby dismiss WITH prejudice
3
      all Defendants and the present action in its entirety. The Parties to this action have
4
      settled this case in its entirety. Defendants have not filed an answer or a motion for
5
      summary judgment. Pursuant to FRCP and Ninth Circuit Court authority, Plaintiffs
6
      Notice of Voluntary Dismissal is effective immediately and does not require an Order
7
      from the court.
8

9

10    IT IS SO NOTICED.
11
      Dated: 07/01/2023                      Lightning Law, APC
12
                                             /S/_David C. Wakefield________________
13
                                             By: DAVID C. WAKEFIELD, ESQ.
14                                           Attorney for all Plaintiffs
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28                                             Dismissal With Prejudice Of Entire Action
                                                         Case# 2:23−cv−02354 JFW (AFMx)
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2                                      PROOF OF SERVICE
      STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
3
             I employed in the County of San Diego, State of California. I am over the age
4     of 18 and not a party to the within action. My business address is 10620 Treena
      Street, Suite 230, San Diego, CA 92131.
5
             On 07/01/2023, I served the documents described below on all interested
6     parties in the attached service list by the method indicated below:
7
      1.  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE OF
8     ENTIRE ACTION AFTER SETTLEMENT
9

10

11    ____ BY MAIL - I deposited such envelope in the mail at San Diego, California.
12         The envelope was mailed with postage thereon fully prepaid. I am “readily
           familiar” with the firm’s practice of collection and processing correspondence
13
           for mailing. Under that practice it would be deposited with the U.S. Postal
14         Service on that same day with postage thereon fully prepaid at San Diego,
           California in the ordinary course of business. I am aware that on motion of the
15
           party served, service is presumed invalid if postal cancellation date or postage
16         meter date is more than one (1) day after date of deposit for mailing in
17
           affidavit.

18    ____ BY PERSONAL SERVICE – I caused such envelope to be delivered by a
19         process server.
20
      ____ VIA FACSIMILE – I faxed said document, to the office(s) of the addressee(s)
21         shown above, and the transmission was reported as complete and without error.
22
      XXXX____ BY ECF ELECTRONIC TRANSMISSION – I transmitted a PDF
23        version of this document by electronic transmission to the party (s) identified
24
          on the attached service list using the court supported ECF e-mail to the
          address(s) indicated.
25

26
      ____ BY OVERNIGHT DELIVERY – I deposited such envelope for collection
27                                                                                       3

28                                           Dismissal With Prejudice Of Entire Action
                                                       Case# 2:23−cv−02354 JFW (AFMx)
     Case 2:23-cv-02354-JFW-AFM Document 11 Filed 07/01/23 Page 4 of 4 Page ID #:97


1          and delivery by the Federal Express with delivery fees paid or provided for in
2          accordance with ordinary business practices. I am “readily familiar” with the
           firm’s practice of collection and processing packages for overnight delivery by
3
           Federal Express. They are deposited with a facility regularly maintained by
4          Federal Express for receipt on the same day in the ordinary course of business.
      ____ (State)      I declare under penalty of perjury under the laws of the State of
5
                        California that the above is true and correct.
6     XX (Federal) I declare that I am employed in the office of a member of the
7
                        bar of this Court at whose direction the service was made.
           At San Diego, California.
8

9
                                     /s/David C. Wakefield_________
                                     DAVID C. WAKEFIELD
10

11
                                       SERVICE LIST
12

13    C. BRENT PARKER, ESQ.
14    LAW OFFICE OF C. BRENT PARKER
15    901 Dune Street, Suite A
16    El Segundo, California 90245
17    Tel.: (310) 648-8187
18    Email: parker@cbparkerlaw.com
19    Attorney for Defendants
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28                                          Dismissal With Prejudice Of Entire Action
                                                      Case# 2:23−cv−02354 JFW (AFMx)
